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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

                                                                                   PETITIONER
KEITH SCOTT
vs.                                   CASE NO. 4:04CR00117SWW
                                               4:07CV00567SWW

UNITED STATES OF AMERICA                                                          RESPONDENT
                                             JUDGMENT

       Pursuant to the Order entered this date, the motion to vacate, set aside, or correct
sentence is hereby denied.
       IT IS SO ORDERED this 13th day of September, 2007.


                                                     /s/Susan Webber Wright

                                                     UNITED STATES DISTRICT JUDGE




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